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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                      :
                                              :
                                              :
              V.                              :    CRIMINAL NUMBER 17-51-1
                                              :
                                              :
THOMAS HUGHSTED                               :

                                          ORDER

       AND NOW, this                 day of                2017, in consideration of Defense

Counsel’s Motion to Withdraw Due to Conflict of Interest, it is hereby ORDERED that the motion is

GRANTED. The Federal Community Defender Office for the Eastern District of Pennsylvania, is

hereby removed as defense counsel.

       It is so ORDERED.


                                              BY THE COURT:




                                              THE HONORABLE GENE E.K. PRATTER
                                              United States District Court Judge
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                       :
                                               :
                                               :
               V.                              :       CRIMINAL NUMBER 17-51-1
                                               :
                                               :
THOMAS HUGHSTED                                :

                         DEFENSE COUNSEL’S MOTION TO
                     WITHDRAW DUE TO CONFLICT OF INTEREST

        Stuart Patchen, Assistant Federal Defender, Assistant Federal Defender, Federal Community

Defender Office for the Eastern District of Pennsylvania, hereby move to withdraw as counsel in the

above captioned case due to a conflict of interest. In support it is stated:

        1.     On or about February 2, 2017, the Federal Community Defender Office for the

Eastern District of Pennsylvania, was appointed to represent Mr. Hughsted in the above captioned

case.

        2.     Since being appointed, an irreconcilable conflict has arisen which requires that the

Federal Community Defender seek to be removed as counsel in the above captioned case.

        3.     Assistant United States Attorney Priya T. DeSouza is aware of the conflict of interest.
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       WHEREFORE, defense counsel moves to withdraw and requests that new counsel be

appointed to represent Mr. Hughsted as soon as possible.

                                                   Respectfully submitted,


                                                   /s/ Stuart Patchen
                                                   STUART PATCHEN
                                                   Assistant Federal Defender
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                            CERTIFICATE OF SERVICE


       I, Stuart Patchen, Assistant Federal Defender, Federal Community Defender Office for the

Eastern District of Pennsylvania, hereby certify that I have served a copy of the Defense Counsel’s

Motion to Withdraw Due to Conflict of Interest, by electronic notification and/or hand delivery upon:




Priya T. DeSouza
United States Attorney’s Office
Assistant United States Attorney
615 Chestnut Street, Suite 1250
Philadelphia, Pennsylvania 19106.


                                             /s/ Stuart Patchen
                                             STUART PATCHEN
                                             Assistant Federal Defender


DATE: April 27, 2017
